   CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 1 of 15



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


In re: CenturyLink Sales Practices
and Securities Litigation            MDL No. 17-2795 (MJD/KMM)

This document relates to:            Case No. 0:17-cv-02832-MJD-KMM

17-2832, 17-4613, 17-4614,
17-4615, 17-4616, 17-4617,
17-4618, 17-4619, 17-4622,
17-4943, 17-4944, 17-4945,
17-4947, 17-5046, 18-1562,
18-1572, 18-1565, 18-1573


                       REPLY BRIEF IN SUPPORT OF
                     MOTION FOR STAY PENDING APPEAL
       CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 2 of 15



                                             TABLE OF CONTENTS


I.        The Order of January 24, 2020, Violates the Federal Arbitration Act ..................... 1

          A. CenturyLink’s Brief Presents No Argument For How The Preliminary-
             Approval Order Is Permissible Under Section 2 Of The FAA ........................... 2

          B.The Plaintiffs’ Brief Presents No Argument For How The Preliminary-
             Approval Order Is Permissible Under Section 2 Of The FAA ........................... 5

II.       The Order of January 24, 2020, Violates the Due Process Clause ........................... 7

III.      Movants Will Suffer Irreparable Harm Absent a Stay ............................................. 9

IV.       The Proposed Class Members Will Not Be Harmed By A Stay ............................ 10

V.        A Stay of the Ex Parte Injunction Is in the Public Interest .................................... 10

Conclusion ......................................................................................................................... 10




              MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR STAY
                                    i
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 3 of 15



                                 TABLE OF AUTHORITIES

Cases                                                                                                          Page(s)

Bank of America, N.A. v. UMB Financial Services, Inc.,
   618 F.3d 906 (8th Cir. 2010) .................................................................................... 8

Berman v. Parker,
   348 U.S. 26 (1954) ................................................................................................. 10

Busch v. Bluestem Brands, Inc.,
   2019 WL 1976147 (D. Minn. May 3, 2019) ............................................................ 7

D.M. by Bao Xiong v. Minnesota State High School League,
  917 F.3d 994 (8th Cir. 2019) .................................................................................... 9

In re Diet Drugs,
    282 F.3d 220 (3d Cir. 2002) ..................................................................................... 6

Fath v. Am. Honda Motor Co., Inc.,
   2019 WL 6799796 (D. Minn. Dec. 13, 2019) .......................................................... 7

Hansberry v. Lee,
  311 U.S. 32 (1940) ............................................................................................... 7, 9

Liles v. Del Campo,
    350 F.3d 742 (8th Cir. 2003) .................................................................................... 6

Martin v. Wilks,
  490 U.S. 755 (1989) ................................................................................................. 8

In re Piper Funds, Inc., Institutional Gov’t Income Portfolio Litigation,
    71 F.3d 298 (8th Cir. 1995) ............................................................................. passim

In re Uponor, Inc. F1807 Plumbing Fittings Prod. Liab. Litig.,
    2012 WL 13065005 (D. Minn. Jan. 19, 2012) ..................................................... 7, 9

Waters v. Churchill,
  511 U.S. 661 (1994) ................................................................................................. 7

In re Zurn Pex Plumbing Prod. Liab. Litig.,
    2012 WL 5055810 (D. Minn. Oct. 18, 2012) ....................................................... 7, 9




       MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR STAY
                             i
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 4 of 15



Statutes, Rules, and Regulations                                                                                        Page(s)

9 U.S.C ....................................................................................................................... 4, 6

28 U.S.C. .................................................................................................................... 5, 6

FED. R. CIV. P. 23 ....................................................................................................... 8, 9

FED. R. CIV. P. 23(c)(2)(B) ............................................................................................ 8

U.S. Const. art. VI .......................................................................................................... 5




       MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR STAY
                             ii
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 5 of 15



     The movants have requested a stay because the preliminary-approval order of

January 24, 2020: (1) violates section 2 of the Federal Arbitration Act and (2) vio-
lates the Due Process Clause. Neither of the briefs filed in response says anything

that refutes the movants’ claims.

I.     The Order of January 24, 2020, Violates the Federal Arbitration Act
     The movants’ argument rests on a simple syllogism:

       Major premise: Section 2 of the Federal Arbitration Act provides
       that agreements to arbitrate “shall be valid, irrevocable, and enforce-
       able, save upon such grounds as exist at law or in equity for the rev-
       ocation of any contract.” 9 U.S.C § 2 (emphasis added).

       Minor premise: The preliminary-approval order of January 24, 2020,
       renders the movants’ arbitration agreements unenforceable, because
       it enjoins the movants from arbitrating their claims against Centu-
       ryLink.

       Conclusion: The preliminary-approval order therefore violates sec-
       tion 2 of the Federal Arbitration Act.
The conclusion is unescapable unless the parties refute either the major premise or

the minor premise of the syllogism.
     Yet neither of the briefs engages — let alone refutes — the major premise or the

minor premise of the movants’ argument. Indeed, neither brief even cites Section 2

of the Federal Arbitration Act, and neither brief presents an argument for how this

Court’s anti-arbitration injunction can be reconciled with the statutory command

of Section 2. Instead, the parties think that they can refute the movants’ reliance on

the FAA by attempting to draw distinctions between the facts of this case and the
facts of In re Piper Funds, Inc., Institutional Gov’t Income Portfolio Litigation, 71

F.3d 298, 300 (8th Cir. 1995), as if Piper held that Section 2 authorizes courts to

issue anti-arbitration injunctions in any situation that departs from the precise fac-


             REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                  1
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 6 of 15



tual pattern of that case. But Piper merely confirms the rule set forth in Section 2

of the FAA, and that rule prohibits federal courts from issuing any order that ren-
ders arbitration agreements unenforceable. See Piper, 71 F.3d at 303 (“The district

court’s injunction significantly frustrated Park Nicollet’s contractual rights, as pro-

tected by the FAA.”). The problem for the parties is Section 2 of the FAA, which
is the source of Piper’s holding, and which the parties do not deign to mention an-

ywhere in their briefing.

       A.       CenturyLink’s Brief Presents No Argument For How The
                Preliminary-Approval Order Is Permissible Under Section 2 Of
                The FAA
     CenturyLink’s1 response ignores the text of the FAA and pretends that the mo-

vants’ argument rests entirely on the matching the precise facts of Piper rather

than the requirements of Section 2. See ECF No. 560 at 11–16. But none of the

distinctions that CenturyLink tries to draw between this case and Piper do any-

thing to show that this Court’s anti-arbitration order was permissible under Section

2 of the FAA.

     Moreover, CenturyLink’s discussion of Piper is misleading. There were two

separate issues in the Piper appeal flowing from two entirely separate orders that

were under review in that case: The first issue was whether the district court erred

by entering an order enjoining Park Nicollet from arbitrating its claims with Piper.
See Piper, 71 F.3d at 302–03. The second issue was whether the district court

erred by entering a separate order refusing Park Nicollet’s request to opt out of the

class. See id. at 303–04. The movants are relying only on Piper’s holding that the
anti-arbitration order violated the FAA. See ECF No. 550 at 5–6 (quoting Piper,

1.   For ease of exposition, we will refer to the defendant and intervenors collec-
     tively as “CenturyLink.”

             REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                  2
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 7 of 15



71 F.3d at 302–03). The second issue in Piper is irrelevant because the movants

are not attempting to opt out of the proposed class.
    Yet CenturyLink tries to distinguish Piper by relying on the opinion’s discus-

sion of the opt-out issue rather its discussion of the anti-arbitration injunction —

even though Piper’s discussion of the opt-out issue is entirely irrelevant to the
plaintiffs’ motion. CenturyLink observes, for example, that Piper reversed the dis-

trict court’s refusal to allow Park Nicollet to opt out of the class only after finding

that Park Nicollet:

       (i) was represented by separate counsel; (ii) had a contractual right to
       arbitrate any claim encompassed by the class action; (iii) had sub-
       mitted a claim to the NASD along with a declaration under
       § 12(d)(2) of the NASD Code that it elected not to participate in the
       class action; and (iv) now elected irrevocably to opt out of the class
       action.
Piper, 71 F.3d at 304. But none of these facts had anything to do with Piper’s

separate decision to reverse the district court’s anti-arbitration injunction, which

was impermissible under the FAA regardless of whether Park Nicollet had ever

attempted to opt out of the class. For CenturyLink to claim that Piper’s decision to

reverse the district court’s anti-arbitration injunction turned in any way on Park

Nicollet’s efforts to opt out of the class action — or on any of the “Piper Funds

factors” that CenturyLink touts in its brief — is a misrepresentation of the Court’s

opinion. Piper reversed the anti-arbitration injunction because it violated the clear
and unambiguous language of the Federal Arbitration Act. The anti-arbitration in-

junction in this Court’s order of January 24, 2020, warrants reversal for the same

reason.




             REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                  3
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 8 of 15



     CenturyLink does offer a few policy arguments in defense of this Court’s anti-

arbitration injunction. See ECF No. 560 at 15 (asserting that the anti-arbitration
injunction will “protect absent class members and the integrity of these proceed-

ings”). And it claims that the parties “strongly supported” their request for an anti-

arbitration injunction, and that CenturyLink had “made a detailed showing of the
factual and legal need” for this relief. Id. But there was one glaring deficiency in

the “showing” that CenturyLink made to this Court: An explanation of how the

anti-arbitration injunction could be permissible under Section 2 of the Federal Ar-

bitration Act, which provides in clear and unmistakable language that arbitration

agreements:

       shall be valid, irrevocable, and enforceable, save upon such grounds
       as exist at law or in equity for the revocation of any contract.
9 U.S.C § 2 (emphasis added). And CenturyLink’s most recent filing is equally be-

reft of any attempt to explain how this Court’s injunction can co-exist with the text

of Section 2. Naked policy arguments cannot authorize a Court to depart from the
unambiguous text of a federal statute. See Piper, 71 F.3d at 303 (“Park Nicollet’s

contractual and statutory right to arbitrate may not be sacrificed on the altar of ef-

ficient class action management.”).2

     Finally, CenturyLink suggests that the All Writs Act could authorize the anti-

arbitration injunction that appears in the Court’s preliminary-approval order. See

ECF No. 560 at 16. But the All Writs Act says that courts “may issue all writs nec-

essary or appropriate in aid of their respective jurisdictions and agreeable to the


2.   In addition, CenturyLink’s claim that the anti-arbitration injunction will “pro-
     tect absent class members” is demonstrably false. The injunction harms the
     thousands of absent class members who want to arbitrate rather than litigate
     their claims with CenturyLink.

              REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                   4
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 9 of 15



usages and principles of law.” 28 U.S.C. § 1651 (emphasis). The Federal Arbitra-

tion Act is not only “law,” but the “supreme Law of the Land,”3 and any writ is-
sued under 28 U.S.C. § 1651 must be “agreeable to the usages and principles” of

the FAA. CenturyLink has not presented any argument for how the FAA allows

this Court to issue the anti-arbitration injunction that CenturyLink requested, so it

cannot justify the injunction under the All Writs Act.

       B.      The Plaintiffs’ Brief Presents No Argument For How The
               Preliminary-Approval Order Is Permissible Under Section 2 Of
               The FAA
     The plaintiffs’ brief also ignores the language of the Federal Arbitration Act

and makes no attempt to engage the syllogism that supports movants’ argument.

The plaintiffs go so far as to assert that Piper

       specifically held such an [anti-arbitration] injunction was valid ex-
       cept to the extent a certain party with separate counsel unequivocally
       and irrevocably affirmed its desire to opt out of the class action set-
       tlement. Movants here, who are represented by separate, sophisticat-
       ed counsel, have made no such request or attempted to exclude
       themselves, which is a plainly stated prerequisite to invoking Piper.
ECF No. 563 at 2 (citing Piper, 71 F.3d at 304). It bears repeating: There were two

separate and distinct issues in the Piper appeal. The first issue was whether the

district court erred by entering an order enjoining Park Nicollet from arbitrating its

claims with Piper. See Piper, 71 F.3d at 302–03. The second issue was whether the

district court erred by entering a separate order refusing to allow Park Nicollet to

opt out of the class. See id. at 303–04. The Eighth Circuit’s decision to reverse the

anti-arbitration order had nothing to do with whether Park Nicollet had expressed
a desire to opt out of the class; the Eighth Circuit reversed the anti-arbitration or-


3.   U.S. Const. art. VI.

             REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                  5
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 10 of 15



der because it violated the Federal Arbitration Act. See id. at 303 (“The district

court’s injunction significantly frustrated Park Nicollet’s contractual rights, as pro-
tected by the FAA.”). Plaintiff’s position—that Piper “specifically held” that anti-

arbitration injunctions are “valid” unless the enjoined individual has “irrevocably

affirmed its desire to opt out of the class action settlement”—essentially asks that
the Court not read Part III.B of the Piper decision. ECF No. 563 at 2.

    The plaintiffs also claim that the All Writs Act authorizes the anti-arbitration

injunction, but an injunction that violates the Federal Arbitration Act is not “agree-

able to the usages and principles of law” within the meaning of 28 U.S.C.

§ 1651(a), and the plaintiffs make no attempt to explain how this Court’s anti-

arbitration injunction can co-exist with Section 2 of the FAA. The plaintiffs, like

CenturyLink, have chosen to ignore the language of the FAA, perhaps in the hope

that their decision to ignore the relevant statutory text might somehow induce this

Court to ignore it as well. But the text of Section 2 is clear and unambiguous:

Agreements to arbitrate “shall be valid, irrevocable, and enforceable, save upon

such grounds as exist at law or in equity for the revocation of any contract.” 9

U.S.C § 2. The anti-arbitration injunction violates Section 2 by rendering the mo-

vants’ arbitration agreements unenforceable, so it cannot be authorized by the All

Writs Act.

    Many of the cases that the plaintiffs cite did not even involve anti-arbitration

injunctions. See In re Diet Drugs, 282 F.3d 220, 236 (3d Cir. 2002); Liles v. Del

Campo, 350 F.3d 742, 746-47 (8th Cir. 2003). Cases of this sort do nothing to sup-

port the issuance of an anti-arbitration injunction in the teeth of a federal statute

that makes arbitration agreements “valid, irrevocable, and enforceable.” 9 U.S.C.



             REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                  6
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 11 of 15



§ 2. And the unpublished district-court rulings that have issued anti-arbitration in-

junctions make no effort to explain how the Federal Arbitration Act could allow an
injunction of that sort. See In re Zurn, 2012 WL 5055810 (D. Minn. Oct. 18, 2012)

(no discussion of FAA); In re Uponor, Inc. F1807 Plumbing Fittings Prod. Liab.

Litig., 2012 WL 13065005 (D. Minn. Jan. 19, 2012) (same); Busch v. Bluestem
Brands, Inc., 2019 WL 1976147 (D. Minn. May 3, 2019) (same). Fath v. Am.

Honda Motor Co., Inc., 2019 WL 6799796 (D. Minn. Dec. 13, 2019) (same). The

brute fact that other courts have failed to consider or analyze the FAA when issu-

ing anti-arbitration injunction—perhaps because the parties, like those here, never

brought the issue to the court’s attention—is not a license for this Court do the

same . See Waters v. Churchill, 511 U.S. 661, 678 (1994) (plurality opinion)

(“[C]ases cannot be read as foreclosing an argument that they never dealt with.”).

II.     The Order of January 24, 2020, Violates the Due Process Clause
      The plaintiffs and CenturyLink appear to agree that the movants are nonparties

to the MDL proceedings. At least, they do not disagree with movants on this point.
But they nevertheless claim that the Due Process Clause allowed the district court

to issue an ex parte injunction that prevents these nonparties from arbitrating their

claims. None of their arguments hold water.
      CenturyLink begins by asserting that the Due Process Clause allows the mo-

vants to be bound as “absent class members” whose “interests are ably represented

by class counsel.” ECF No. 560 at 16 & n.8; see also Hansberry v. Lee, 311 U.S.

32, 42–43 (1940) (“[M]embers of a class not present as parties to the litigation

may be bound by the judgment where they are in fact adequately represented by

parties who are present” (citations omitted)). But as the movants explained in their



              REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                   7
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 12 of 15



opening brief, the proposed class has never been certified in accordance with Rule

23,4 and the putative class representatives and their counsel are acting in a manner
adverse to the movants’ interests by seeking to deprive them of their contractual

right to arbitrate.

     CenturyLink fails to identify any other exception to the constitutional prohibi-
tion on enjoining non-parties to the litigation. Instead, CenturyLink makes the re-

markable assertion that a court may issue a temporary injunction against a nonpar-

ty to a lawsuit, even when the Due Process Clause would prevent the court from

enjoining that nonparty in a final judgment. ECF No. 560 at 17–18. But the consti-

tutional prohibition on ex parte injunctions is not limited to injunctions that appear

in final judgments. See Martin v. Wilks, 490 U.S. 755, 762 (1989) (“A judgment or

decree among parties to a lawsuit resolves issues as among them, but it does not

conclude the rights of strangers to those proceedings.” (emphasis added)). And

CenturyLink cites no authority that sustains a “temporary” ex parte injunction of

this sort over the objections of an absent class member. Bank of America, N.A. v.

UMB Financial Services, Inc., 618 F.3d 906 (8th Cir. 2010), is no help to Centu-

ryLink because the anti-arbitration injunction in that case was directed at UMB —

a party to the lawsuit. See id. 914–15; see also id. at 915 (“The district court did

not err in temporarily enjoining the parties from participating in binding arbitra-

tion on a matter which UMB was attempting simultaneously to litigate in district

court.” (emphasis added)). And the ex parte injunctions in Zurn and Uponor were


4.   The parties assert that courts regularly use “provisional” certification in order
     to begin administration of a settlement process. But that asserted practice does
     not provide any support for what the parties request here: that the Court pur-
     port to bind absent class members without the procedural protections that Rule
     23(c)(2)(B) requires before absent class members can be bound.

              REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                   8
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 13 of 15



never challenged by an absent class member who raised a due-process objection to

the court’s actions.
       The plaintiffs barely address the movants’ due-process objections. They ap-

pear to be claiming that the movants are bound to obey the district court’s order

under the class-action exception recognized in Hansberry. See ECF No. 563 at 8–9
(“[A] Court may bind Class Members . . . . There is no dispute that Movants are

bound by the Order.”). But the movants clearly explained in their opening brief

why the class-action exception is inapplicable: (1) No class has been certified in

accordance with the requirements of Rule 23; and (2) The putative class represent-

atives and class counsel do not represent the interests of the movants, who wish to

arbitrate rather than litigate their claims. See Hansberry, 311 U.S. at 42–43

(“[M]embers of a class not present as parties to the litigation may be bound by the

judgment where they are in fact adequately represented by parties who are pre-

sent” (emphasis added)). The plaintiffs have no answer to any of this.

III.     Movants Will Suffer Irreparable Harm Absent a Stay
       A denial of constitutional rights qualifies as irreparable harm per se,5 and nei-

ther Century nor the plaintiffs dispute this proposition. So the movants need noth-
ing more than to show that the ex parte injunction violated their due-process

rights, and a finding of irreparable harm ineluctably follows.

       CenturyLink tries to contend that mere delay fails to qualify as “irreparable
harm,” but the entire point of arbitration is provide a quick and efficient means of

resolving disputes and to do so at whatever time the movant chooses to bring his

or her claims. That right will be irreparably lost if the preliminary-approval order

5.     See D.M. by Bao Xiong v. Minnesota State High School League, 917 F.3d 994,
       1004 (8th Cir. 2019).

               REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                    9
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 14 of 15



is not stayed, and there is no prospect of monetary recovery that will compensate

the movants if the anti-arbitration injunction remains in effect.

IV.     The Proposed Class Members Will Not Be Harmed By A Stay
      Both CenturyLink and the plaintiffs note that the proposed class members will

benefit from the settlement, but class members will already have to wait months

before receiving any compensation (and then, most will receive nothing, some will

receive $30, and a few will receive slightly more). A short delay to a $30 payment

so that the Court can ensure that it complies with federal law and protects the

rights of class members who wish to pursue arbitration is entirely reasonable. That

is particularly true where the conflict between the Order and the FAA could easily

have been avoided if the parties had informed the Court of controlling precedent

when seeking approval of the settlement.

V.      A Stay of the Ex Parte Injunction Is in the Public Interest
      CenturyLink claims the public has an interest in the “speedy resolution of this

dispute,” but the public has an even stronger interest in the enforcement of con-

tracts — and CenturyLink is attempting to breach its contractual obligations on a
massive scale by depriving each of its customers of their contractual right to arbi-

trate. The public also has an interest in the enforcement of the Federal Arbitration

Act, despite CenturyLink’s refusal to acknowledge or discuss that statute in its
briefing. See Berman v. Parker, 348 U.S. 26, 32 (1954) (“Subject to specific con-

stitutional limitations, when the legislature has spoken, the public interest has been

declared in terms well-nigh conclusive.”).

                                  CONCLUSION
      The motion for stay pending appeal should be granted.



              REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                                  10
CASE 0:17-md-02795-MJD-KMM Document 565 Filed 02/19/20 Page 15 of 15



Dated: February 19, 2020          Respectfully submitted.

                                   /s/ Jared D. Shepherd
                                  Jared D. Shepherd
                                  Hoff Barry, P.A.
                                  100 Prairie Center Drive, Suite 200
                                  Eden Prairie, Minnesota 55344
                                  (952) 941-9220 (phone)
                                  (952) 941-7968 (fax)
                                  jshepherd@hoffbarry.com

                                  Ashley C. Keller
                                  Warren D. Postman
                                  Keller Lenkner LLC
                                  150 N. Riverside Plaza, Suite 4270
                                  Chicago, Illinois 60606
                                  (312) 741-5220 (phone)
                                  (312) 971-3502 (fax)
                                  ack@kellerlenkner.com
                                  wdp@kellerlenkner.com


                                  Counsel for Movants Edwin Miller,
                                  Vonita Taylor, and Patrick West




           REPLY BRIEF IN SUPPORT OF MOTION FOR STAY
                               11
